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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION


MICHAEL CLOUD,

            Plaintiff,

      v.                                Civil Action No. 3:20-cv-01277-S

THE BERT BELL/PETE ROZELLE
NFL PLAYER RETIREMENT PLAN,

            Defendant.




    REPLY IN FURTHER SUPPORT OF DEFENDANT’S MOTION FOR
     SUMMARY JUDGMENT ON THE ADMINISTRATIVE RECORD
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                                    INTRODUCTION

       Cloud’s Response to Defendant’s Motion for Summary Judgment on the

Administrative Record (Dkt. 178, “Cloud Resp.”) is nearly identical to his motion for

judgment (Dkt. 156), which Defendant has already answered. See generally Dkt. 182. As

a result, Defendant’s reply will be succinct.

       In its opening brief, Defendant noted that Cloud’s wide-ranging claims of

conspiracy and malfeasance have no basis in reality, and no place in this ERISA claim for

benefits. Dkt. 162 at 2. In response, Cloud emphatically embraces it all, even the never-

pleaded theory that Defendant discriminated against him based on his race:

       Defendant also complains that Cloud has portrayed it as a component of an
       NFL monolith and accused it, the NFL Players Association (“NFLPA”), and
       others of misleading Cloud about his benefits, withholding records, not
       locating medical records for him from an NFL “EMR” repository, and
       discriminating against him based on his race – all of which is supported
       by the evidence and uncontroverted by Defendant.

Cloud Resp. at 2 (emphasis in original).

       Cloud has had more than ample opportunity to make his case. 1 But when the Court

wades through the documents and testimony that Cloud purports to cite, it will see that

none of Cloud’s constantly-evolving claims are supported, none of his claims are

uncontroverted, and most of his allegations have no bearing on whether the Board had a

reasonable basis to deny his 2016 reclassification request.

       The three questions for the Court are straightforward, and they are

straightforwardly answered by the Administrative Record (Dkt. 16) lodged with the Court




1 Cloud routinely exceeded the Court’s briefing page limits, and then filed (with the Court’s

permission) a 60+ page motion for judgment and a 60+ page opposition brief containing
hundreds of footnotes and numerous, opaque cites to evidence that is inadmissible.


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a year ago. Did Cloud timely appeal the Committee’s initial decision? No. Did Cloud seek

reclassification based on impairments that were different from the ones that led to his

initial award of T&P benefits in 2014? No. Did Cloud show that he satisfied the “shortly

after” requirement for Active Football benefits? No. The Board’s decision was far from

an abuse of discretion; it was objectively correct. The Court should uphold that decision

under the applicable abuse-of-discretion standard of review or, alternatively, the de novo

standard of review that Cloud urges the Court to adopt contrary to settled ERISA

precedent.


                           ARGUMENT & AUTHORITIES

I.    Cloud Cannot Avoid The Fact That His Appeal Was Untimely, And This
      Alone Justifies The Board’s Decision.

      A.     Cloud concedes the Board could deny an untimely appeal.

      Defendant’s opening brief cited a number of federal court decisions upholding plan

administrators’ decisions denying untimely appeals. See Dkt. 162 at 29-31. Cloud offers

a two-sentence response that does not contest this authority in any way.

      Cloud instead invokes what amounts to a good-for-the-goose/good-for-the-gander

argument. He claims Defendant “was ‘two days late’ in mailing the 2016 Appeal Decision

Letter to Cloud,” and this was “a violation of federal law.” 2 Cloud Resp. at 47. Cloud,

however, cites no case—and Defendant is aware of none—holding that a plan

administrator violates federal law by sending a final decision letter within five business

days (as opposed to five calendar days).



2Cloud refers to the fact that the Board denied his request for reclassification at its
meeting on Friday November 16, 2016, and the NFLPBO issued the decision letter on
Friday November 23, 2016.


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       Even if Defendant issued the Board’s decision letter two days late as Cloud

maintains, the error did not prejudice Cloud, and it does not excuse his failure to timely

appeal the Committee’s decision. See Fortier v. Hartford Life & Accident Ins. Co., 916

F.3d 74, 83-84 (1st Cir. 2019) (noting that a plan administrator must substantially comply

with ERISA claim regulations, and rejecting the argument that the same substantial

compliance doctrine or principles of fairness excuse a claimant’s untimely appeal).

       B.     The Administrative Record unequivocally shows that Cloud
              received the Committee’s decision letter on March 4, 2016, and
              thus his appeal was untimely.

       Cloud argues “there is no evidence in the [Administrative Record] to show when

the FedEx package [containing the Committee’s 2016 initial decision] was left” at his

residence.   Cloud Resp. at 49.      See also id. at 48 (arguing that “nothing in the

[Administrative Record] evidences when [he] actually received the 2016 Decision

Letter”). This assertion is baseless. 3 Cloud is basically saying that FedEx participated in

the grand conspiracy against him by delivering the Committee letter on a Sunday

(improbable) and then falsifying its tracking information to indicate that the letter was



3 The Administrative Record contains FedEx tracking information showing that the
Committee’s initial decision letter was delivered to Cloud’s home address on March 4,
2016, and a “claim summary” conveying that information to the Board. See FedEx
Shipment Detail at 1 (AR-524); Def’s Notice of Filing the Administrative Record (Dkt. 16)
at 2 (certifying that the Administrative Record contains a true and correct copy of “Fed-
Ex shipment records maintained by the [NFLPBO] confirming Plaintiff’s receipt of the
Committee’s initial decision letter regarding Plaintiff’s February 2016 request for
reclassification”); Claim Summary (AR-484). Contemporaneous e-mails that Cloud
sought and received in discovery back up this documentation, and demonstrate that
before the November 2016 Board meeting the NFLPBO confirmed the March 4 receipt
date. See 11/8/16 E-mail fr. N. Maroz (XFILE-1507, 2195) (Dkt. 164-15, at APP. 3812)
(“Sam, Could you please check when Player’s denial letter dated 3/2/16 was received?”);
11/8/16 E-mail fr. S. Vincent (XFILE-2195) (Dkt. 183, at Supp. App. 4) (“Elise [Richard]
confirmed that it was received by [Cloud] on 3/4/2016 via FedEx.”).


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delivered two days prior (even more improbable). The Court should reject Cloud’s

charges out of hand.

II.    Cloud Did Not Satisfy The Reclassification Provision’s Changed-
       Circumstances Requirement.

       Cloud challenges Defendant’s argument that he did not meet the reclassification

provision’s changed-circumstances requirement on several grounds. None have merit.

       A.     Groom Law Group did not create the reclassification provision,
              and the Board’s interpretation of it was no secret to Cloud.

       Cloud begins his assault on the reclassification provision where he usually does—

with accusations of malfeasance by Groom Law Group (“Groom”)—and gets things wrong.

Groom is not “the Plan’s architect.” Cloud Resp. at 49. The Plan is the product of

collective bargaining between the NFLMC and the NFLPA, and those bargaining parties

created the reclassification provision in a 1998 collective bargaining agreement. 4 The

provision, as adopted, did not define “changed circumstances.” Once it was incorporated


4 A true and correct copy of Article XLVII from 1993-2005 NFL Collective Bargaining
Agreement (as amended February 25, 2008) (“1998 CBA”) is included in the appendix to
this brief. In that Article, the bargaining parties agreed, inter alia, to amend the Plan to
add the following:
       Section 7.      Classification Rules for Total and Permanent
       Disability: Effective as of July 1, 1993, the parties will amend the Bert
       Bell/Pete Rozelle Plan as follows:
       “5.6   Classification Rules.
               (a)    A Player who becomes totally and permanently disabled and
       who satisfies the conditions of eligibility for benefits under Section 5.1(a),
       5.1(b), 5.1(c), or 5.1(d), or Section 5.5, shall be deemed to continue to be
       eligible only for the category of benefits for which he first qualifies, unless
       the Player shows by evidence found by the Retirement Board to be clear and
       convincing that, because of changed circumstances, the Player satisfies the
       conditions of eligibility for a benefit under a different category of total and
       permanent disability benefits.” ….
1998 CBA at 193 (Ex. A, App. 020).


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into the Plan, the Board had the obligation to interpret and apply it. See Firestone Tire &

Rubber Co. v. Bruch, 489 U.S. 101, 111 (1989) (“A trustee may be given power to construe

disputed or doubtful terms, and in such circumstances the trustee’s interpretation will

not be disturbed if reasonable.”). And that is what the Board did.

       The Board did not commit a “decades-long,” “open and direct violation of ERISA.”

Cloud Resp. at 49. The Board interpreted, applied, and explained the reclassification

provision on a case-by-case basis, as the numerous Board decision letters produced in this

litigation attest.

       Even if Cloud’s claims about the creation and clandestine application of the

reclassification provision were true (and they are not), such claims have no bearing here.

The decision letters that Cloud received fully disclosed the Board’s interpretation of the

reclassification provision. See 3/2/16 Ltr. fr. P. Scott at 4 (AR-481) (“The Committee

interprets ‘changed circumstances’ to mean a change in a Player’s condition (i.e., a new

or different impairment).”); 11/23/16 Ltr. fr. M. Miller at 2 (“The Retirement Board

interprets Section 5.7(b)’s ‘changed circumstances’ requirement to mean a new or

different impairment from the one that originally qualified you for T&P benefits.”).

Cloud’s grievance is not that he did not understand the reclassification provision; it is that

he could not meet it.




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       B.     The Board applied the same interpretation of the changed-
              circumstances requirement to Cloud that it applied to every
              Player before and after him.

       Cloud claims to find vastly different interpretations of the changed-circumstances

requirement in the numerous decision letters produced by Defendant in this litigation. 5

See, e.g., Cloud Resp. at 53 (arguing that the letters reveal “wild fluctuations in definitions

of Changed Circumstances…”). The Board’s decision letters may use slightly different

language depending on the context of each claim, but the distinctions are not a difference.

To illustrate, Cloud decries the following:

       In one decision letter, Defendant (i.e., Groom) defined it to mean “a new or
       different impairment from the one that originally qualified you for
       T&P benefits.” In another decision letter, Defendant (i.e., Groom) defined
       it to mean “a new impairment that did not exist during the original
       application, or an impairment that did exist but is different from
       the one that formed the basis of the original award of T&P
       benefits.”

Id. (emphasis in original; footnotes omitted). In the language quoted above, Cloud sees

“inconsistent definitions” that “amount[] to a gross violation of ERISA.” Id. at 53-54.

       There is no arguable distinction between the language or the concept conveyed by

the language in this or any other example Cloud cites. None. The point is: A Player

cannot qualify for reclassification based on the same impairments or conditions that led

to his original award of T&P benefits. See 11/23/16 Ltr. fr. M. Miller at 2 (“The Retirement

Board interprets Section 5.7(b)’s ‘changed circumstances’ requirement to mean a new or

different impairment from the one that originally qualified you for T&P benefits.”). Even

Cloud recognizes that this theme resonates throughout the Board’s reclassification


5 Cloud writes: “One month ago, Groom produced thousands of pages of decision letters
from 1997 to the present.” Cloud Resp. at 49, n.287. The representation is false.
Defendant produced the decision letters in October 2021.


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decisions. See Cloud Resp. at 51 (“One may only glean from the letters that the definition

requires something other than evidence of the existing condition that formed the basis of

the original award (‘Original Circumstances’).”).

       C.     Cloud did not satisfy the changed-circumstances requirement.

              1.     Dr. Wu’s opinions are inadmissible, and on top of that Dr. Wu has no
                     idea whether Cloud presented “changed circumstances.”

       Defendant’s opening brief explained that a simple comparison of Cloud’s 2014 T&P

application and his 2016 reclassification request showed that the reclassification request

was not based on “changed circumstances,” as the Board interprets the requirement. Dkt.

162 at 33-39. Cloud does not confront this demonstrable reality. Cloud insists that Dr.

Wu’s medical expertise is necessary to determine whether Cloud presented “changed

circumstances,” Cloud Resp. at 55, and, according to Cloud, Dr. Wu “confirmed” Cloud’s

2016 reclassification request “presented new conditions, including significant memory

and attention problems, decision problems, and affective disorders.” Id. at 56.

       Dr. Wu’s opinions are inadmissible. See 2/22/22 Order (Dkt. 151) at 3 (“Dr. Wu’s

testimony and the aforementioned exhibits will not be considered for the purpose of

resolving ‘disputed materials facts’ or the ‘merits of the claim itself.’”); see also Vega v.

Nat’l Life Ins. Servs., Inc., 188 F.3d 287, 299-300 (5th Cir. 1999) (holding that district

courts may not consider “doctors’ affidavits” introduced “to resolve the merits of the claim

itself” where the affidavits were submitted after litigation had been initiated), overruled

on other grounds as recognized by Youboty v. NFL Player Disability, No. 20-40613, 2021

WL 1533662 (5th Cir. Apr. 16, 2021); Jurasin v. GHS Prop. & Cas. Ins. Co., No. SA-09-

CA-00562-FB, 2011 WL 13234954, at *4–5 (W.D. Tex. Jan. 20, 2011) (striking new

testimony from a doctor regarding a “CT scan study” “that the prior doctors did not have



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              2.     Cloud did not automatically present “changed circumstances” simply
                     because he was originally awarded T&P benefits under the Plan’s
                     Social Security standard.

       Cloud argues that his initial award of T&P benefits was not based on any

impairments at all, but rather his Social Security award, and so any impairment

mentioned in his reclassification request was a new impairment that automatically met

the Board’s definition of “changed circumstances.” Cloud Resp. at 50. The Court should

reject this argument because Cloud did not raise it with the Board or join it in this case.

See Gomez v. Ericsson, Inc., 828 F.3d 367, 374 (5th Cir. 2016) (“[Plaintiff] tries a new

argument not raised before the administrator—that the value of any unreturned property

should offset his severance pay. But we cannot consider an argument that a plan did not

first have the opportunity to assess.”); Sims v. City of Madisonville, 894 F.3d 632, 643

(5th Cir. 2018) (affirming district court decision holding that where plaintiff “failed to

raise . . . theories in his first amended complaint,” he “could not do so for the first time on

summary judgment”).

       In any event, Cloud’s argument falls apart when one realizes that the Social

Security Administration (and the Plan) tie disability benefits to an underlying

disability. Thus the notion that the SSA award was a blank slate on which Cloud could

later write any disability, and transform that disability into a “changed circumstance,” is

a false, starting premise. So while Cloud may now wish the Board did not “dive into the

reasoning behind [his] SSA award” and “parse through the various impairments

underlying” that award, Cloud Resp. at 50, the Board has discretionary authority to

interpret the Plan and decide claims for benefits. PD §§ 8.2(a) (AR-048), 8.2(c) (AR-

049), 8.9 (AR-052). In exercising this authority, the Board was entitled to conduct the

review and reach the conclusion that it did.


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              3.     Cloud acknowledged that he did not present “changed
                     circumstances” when his lawyers asked the Board to waive that
                     exact requirement.

       Defendant’s opening brief noted that Cloud admitted he did not meet the changed-

circumstances requirement when he asked the Board to waive it. Dkt. 162 at 33. Cloud

rejects this characterization, as well as Defendant’s added observation that Cloud has

tried throughout this litigation to rescind his concession and manufacture “changed

circumstances” by rewriting the facts and the record before the Board. In a few short

sentences, Cloud says Defendant’s arguments are “not the arguments of fiduciaries;” he

represents that “Jennifer [Cloud] assisted” Cloud with his reclassification request

(because Defendant failed to do so and Cloud did not know how the Board applied the

changed-circumstances requirement); and he claims that his waiver request had nothing

to do with the changed-circumstances requirement, but rather it “track[ed] the last

sentence of Section 5.7(b)…, which waives certain requirements of the Plan.” Cloud Resp.

at 56-57. None of these statements are fair or accurate.

       First, Defendant can defend itself in litigation against Cloud’s claims

notwithstanding the Board’s fiduciary role. See Neathery v. Chevron Texaco Corp. Grp.

Acc. Pol'y No. OK826458, No. 05CV1883-JM CAB, 2006 WL 4690828, at *2 (S.D. Cal.

July 11, 2006) (“When an administrator is required to justify or to defend against a

beneficiary’s claims made because of an act of plan administration, the administrator

does not act directly in the interests of the disappointed beneficiary but in his own

interests or in the interests of the rest of the beneficiaries.”) (citation omitted); Atkins v.

Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. A-10-CA-515-SS, 2011 WL 13269723, at

*2 n.4 (W.D. Tex. Aug. 8, 2011) (recognizing the Board “has a duty to protect the interests

of the plan as a whole, and thus may be adversarial to a particular claimant”).


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       Second, Cloud is again misrepresenting basic facts that are perfectly within his

knowledge. Jennifer Cloud did not help him with his 2016 reclassification request. At

deposition, Ms. Cloud said

            Depo. of J. Cloud (APP. 1161- 62 at 61:14-62:16). And Cloud himself testified

that the Sol Weiss law firm prepared his 2016 reclassification request. Depo. of M. Cloud

(APP. 968-69 at 191:25-192:10).

       Third, Cloud’s attempts to reinterpret the arguments that Sol Weiss made in

connection with his 2016 reclassification appeal fall flat, because the arguments speak for

themselves. The Sol Weiss firm wrote:

       While Mr. Cloud recognizes that his benefits can only be reclassified if there
       are ‘changed circumstances’ under Plan section 5.7(b), Mr. Cloud submits
       that this requirement should be waived under the circumstances
       here.

9/2/16 Appeal Ltr. at 3 (AR-492) (emphasis added). From this there can be no doubt the

Sol Weiss lawyers meant what they said, and they said what they meant: Cloud did not

present any new or different impairments. Sol Weiss sought a do-over on Mr. Cloud’s

2014 T&P application, something the bargaining parties prohibited with their adoption of

the reclassification provision nearly two decades earlier in 1998. See also id. (“… Mr.

Cloud submits that the ‘changed circumstances’ requirement be waived and this

application be treated as an initial application for Active Football benefits.”)

(emphasis added). The Sol Weiss waiver request did not simply “track[] the last sentence

of Section 5.7(b)” concerning the 42-month lookback rule as Cloud suggests. Cloud Resp.

at 57. Sol Weiss addressed the lookback rule separately in the same appeal letter. See

9/2/16 Appeal Ltr. at 3 (AR-492) (“Further, the 42 month limitations period outlined in

section 5.7(b) should also be waived because Mr. Cloud’s medical records establish that



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he is and was ‘mentally incapacitated in a matter that substantially interferes with the

filing of’ his claim.”).

III.   Cloud Concedes He Could Not Qualify For Active Football Benefits.

       Cloud pejoratively wonders how the Board could expect him “to show evidence of

a ‘new or different impairment’ that arose while he was still playing in the NFL,”

given that he was already receiving T&P benefits and no longer playing in the NFL. Cloud

Resp. at 54 (emphasis in original).        Cloud then admits he cannot satisfy this

requirement—before reflexively blaming Groom. Id. (“This latest Groom Interpretation

of Changed Circumstances is an absurdity, and admittedly is the only one that Cloud

cannot satisfy.”).

       The Plan is the source of Cloud’s conundrum, not Groom. To obtain Active

Football benefits, a Player’s disabling condition must arise while he is an Active Player,

and it must then cause him to become totally and permanently disabled “shortly after” it

first arises. PD §§ 5.3(a), 5.3(e) (AR-32). As Defendant pointed out in its opening brief,

Dkt. 162 at 39, n.30, even if Cloud developed a new and disabling impairment of some

kind between 2014 and 2016 as Cloud now says, Cloud Resp. at 55 (explaining that “Cloud

complained of new issues in his 2016 Application”), that would mean either the

impairment did not arise while Cloud was an Active Player, or if it did then he became

totally and permanently disabled by that impairment eight or more years after it first

arose. Accordingly, Cloud could never meet the Active Football standard or qualify for

reclassification to that level of benefits. The Sol Weiss firm clearly understood these

limitations. To surmount them, Sol Weiss argued—very specifically—that Cloud became

totally and permanently disabled “shortly after” an October 31, 2004 concussion.




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       Cloud perceives only unfairness in this outcome, believing he has been unjustly

deprived of the Plan’s highest-paying benefit. But the Board’s obligation is to apply the

terms of the Plan, and the simple truth is Active Football benefits were not designed to

cover degenerative conditions like the one presented by Cloud, 7 and the reclassification

provision was not intended to give Players the ability to perpetually challenge otherwise

final benefits decisions.

IV.    Cloud Concedes Count II Is Redundant, And He Does Not Point To Any
       Admissible Evidence To Support It.

       Cloud says that Count II is part and parcel of his claim for benefits under Count I.

See Cloud Resp. at 62 (“The requirements of this provision are not limited to Count II as

a ‘full and fair review’ is a fundamental component of the provisions underlying Cloud’s

claims in Count I)…”). If Count II does not stand on separate footing or provide any

independent grounds for relief, the Court should dismiss it. See Jacobson-Boettcher v.

Dowdy, No. H-18-0853, 2018 WL 3520506, at *8 (S.D. Tex. July 20, 2018) (“[T]he court

concludes that plaintiff's claim… is subject to dismissal because it duplicates [other]

claims[.]”).

       According to the Amended Complaint, Count II is predicated on allegations that

Defendant failed year after year to respond to Cloud’s request for “relevant” documents.

See Am. Compl. ¶ 50 (alleging that Cloud’s request for reclassification did not receive a

“full and fair review” because “he was not provided with his full history of medical




7 The Inactive A benefits that Cloud currently receives were once called “Football
Degenerative” benefits, and they “were so named because they were intended for Players
who gradually became disabled, in ‘degenerative’ fashion, after leaving professional
football.” See Dkt. 162 at 10, n.12 (noting that Inactive A benefits were previously called
Football Degenerative benefits).


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documentation,” and “[Defendant] (and its advisors and counsel) [were] withholding

relevant records”). Cloud claims the Administrative Record shows that “he has been

requesting records related to and in support of his 2009 Application, 2010 Appeal, 2014

Application, 2016 Application, and 2016 Appeal,” Cloud Resp. at 63, but cites nothing in

the Administrative Record or any one of the thousands of pages of documents produced

from the NFLPBO’s files evidencing a single request from Cloud, his wife, or his attorneys

that went unanswered.

       Cloud states that “Defendant is the only party who possesses a complete copy of

the [Administrative Record],” and suggests that it may be incomplete because Defendant

produced additional documents in discovery and asked the Court to consider documents

that Cloud selectively excluded from the thousands of pages of material he put before the

Court. Cloud Resp. at 63-64. To be clear, the Administrative Record is complete. When

Defendant filed the Administrative Record with the Court in January 2021, it represented

that the Administrative Record contained “a true and correct copy of all material prepared

for and/or presented to the Retirement Board of the Bert Bell/Pete Rozelle NFL Player

Retirement Plan in connection with its decision on Plaintiff’s February 2016 request for

reclassification of his T&P benefits.” Def’s Notice of Filing Admin. Record (Dkt. 16) at 2.

That statement was true then, and it is true today.

       Defendant has nothing on Cloud that it has not already produced. Throughout the

course of this litigation, Defendant turned over every phone note, e-mail, and portion of

the disability file maintained by the NFLPBO relating to Cloud. Many of those documents

were extraneous to the Administrative Record (many were duplicative of it), and so when

producing them Defendant gave them the “XFILE” bates prefix. The Court has admitted

the XFILE documents to the extent they are probative of the completeness of the


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Administrative Record or material to another Crosby exception. Under the rule of

completeness, the Court should consider all of these documents, not just the ones that

Cloud wants the Court to see. Among it all, Cloud cannot point to anything showing that

Defendant ever failed to respond to a single document request of any kind.

V.    The Board Does Not Have A Structural Conflict, So Nothing Should
      Diminish The Abuse-Of-Discretion Standard Of Review.

      Cloud informs the Court that it may account for a plan administrator’s “structural

conflict” when it considers whether the administrator abused its discretion. Cloud Resp.

at 46. Cloud does not specifically argue that the Board suffers from such a conflict,

however, and so the argument is waived. Nichols v. Enterasys Networks, Inc., 495 F.3d

185, 190 (5th Cir. 2007) (concluding argument “waived for inadequate briefing” where

party “failed to provide any evidence—or any legal argument beyond bare assertions”).

Furthermore, every court to address the question has held that the Board does not have a

structural conflict. See, e.g., Boyd v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 796 F.

Supp. 2d 682, 690-91 (D. Md. 2011); Johnson v. Bert Bell/Pete Rozelle NFL Player Ret.

Plan, 468 F.3d 1082, 1086 (8th Cir. 2006); Courson v. Bert Bell NFL Player Ret. Plan, 75

F. Supp. 2d 424, 431 (W.D. Pa. 1999), aff’d, 214 F.3d 136 (3d Cir. 2000). Nothing should

diminish the deference afforded the Board’s decision under the abuse-of-discretion

standard of review.


                                    CONCLUSION

       The Court should grant Defendant’s motion and enter judgment in favor of

Defendant on Counts I and II of Cloud’s Amended Complaint.




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Dated: April 1, 2022                  Respectfully submitted,

                                      GROOM LAW GROUP, CHARTERED

                                      By:
                                            Michael L. Junk, pro hac vice
                                            Edward J. Meehan, pro hac vice
                                             1701 Pennsylvania Avenue NW
                                             Washington, DC 20006
                                             P: (202) 857-0620
                                             F: (202) 659-4503
                                             mjunk@groom.com
                                             emeehan@groom.com

                                      MUNSCH HARDT KOPF & HARR, P.C.
                                            Toni Anderson
                                            Texas Bar No. 24105432
                                             500 N. Akard Street, Suite 3800
                                             Dallas, TX 75201
                                             P: (214) 855-7500
                                             F: (214) 855-7584
                                             tanderson@munsch.com

                                            D. Mitchell McFarland
                                            Texas Bar No. 13597700
                                             700 Milam Street, Suite 2700
                                             Houston, TX 77002
                                             P: (713) 222-1470
                                             F: (713) 222-1475
                                             mmcfarland@munsch.com

                                      COUNSEL FOR DEFENDANT




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                             CERTIFICATE OF SERVICE

       I certify that on April 1, 2022, the foregoing REPLY IN FURTHER SUPPORT OF

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT ON THE ADMINISTRATIVE

RECORD was filed with the Clerk of Court via CM/ECF, which will automatically deliver

notice of the filing to all counsel of record. I further certify that an un-redacted copy of

this brief was emailed to all counsel of record.



                                                     Michael L. Junk, pro hac vice




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